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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS

                                        CASE NO. 6:24-cv-172

TESLA, INC.,

        Plaintiff,
v.

THE INDIVIDUALS, PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

        Defendants.
                                               /

                                             COMPLAINT

        Plaintiff, Tesla, Inc. (“Tesla”), by and through undersigned counsel, hereby sues

Defendants, The Individuals, Partnerships, and Unincorporated Associations identified on

Schedule “A” hereto (collectively, the “Defendants”), and alleges as follows:

                                     NATURE OF THE ACTION

        1.         Defendants are promoting, selling, reproducing, offering for sale, and distributing

goods using counterfeits and confusingly similar imitations of Plaintiff’s trademarks within this

district through various Internet based e-commerce stores and fully interactive commercial Internet

websites operating under the seller identification names set forth on Schedule “A” hereto (the

“Seller IDs”). 1

        2.         Like many other famous trademark owners, Plaintiff suffers ongoing daily and

sustained violations of their trademark rights at the hands of counterfeiters and infringers, such as

Defendants herein, who wrongfully reproduce and counterfeit Plaintiff’s trademarks for the twin



        1
            Plaintiff will be moving to file Schedule “A” under seal.
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purposes of (i) duping and confusing the consuming public and (ii) earning substantial profits. The

natural and intended byproduct of Defendants’ actions is the erosion and destruction of the

goodwill associated with Plaintiff’s trademarks, as well as the destruction of the legitimate market

sector in which they operate.

       3.      In order to combat the indivisible harm caused by the combined actions of

Defendants and others engaging in similar conduct, Plaintiff has expended significant amounts of

resources in connection with trademark enforcement efforts, including legal fees, investigative

fees, and support mechanisms for law enforcement. The exponential growth of counterfeiting over

the Internet, particularly through online marketplace platforms, has created an environment that

requires individuals, such as Plaintiff, to expend significant time and money across a wide

spectrum of efforts in order to protect both consumers and themselves from the negative effects of

confusion and the erosion of the goodwill connected to Plaintiff’s brand.

                                 JURISDICTION AND VENUE

       4.      This is an action seeking damages and injunctive relief for trademark counterfeiting

and infringement, false designation of origin under the Lanham Act, common law unfair

competition; common law trademark infringement pursuant to 15 U.S.C. §§ 1114, 1116, 1121,

1125(a), and 1125(d), and The All Writs Act, 28 U.S.C. § 1651(a); 15 U.S.C. § 1051 et seq.

       5.      This Court has subject matter jurisdiction pursuant to 15 U.S.C. §§ 1114 and

1125(a), 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338.

       6.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over the state law

claims, because the claims are so related to the trademark claims in this action, over which this

Court has original jurisdiction, that they form part of the same case or controversy under Article

III of the United States Constitution.



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          7.    Defendants are subject to personal jurisdiction in this District because they direct

business activities toward and conduct business with consumers throughout the United States,

including within the State of Texas and this District through at least the Internet based e-commerce

stores and fully interactive commercial Internet websites accessible in Texas and operating under

the Seller IDs. Upon information and belief, Defendants infringe Plaintiff’s trademarks in this

District by advertising, using, selling, promoting and distributing counterfeit trademark goods

through such Internet based e-commerce stores and fully interactive commercial Internet websites.

          8.    Venue is proper in this District pursuant 28 U.S.C. § 1391 since Defendants are,

upon information and belief, aliens engaged in infringing activities and causing harm within this

District by advertising, offering to sell, selling and/or shipping infringing products into this

District. Defendants may be found in this District, as they are subject to personal jurisdiction

herein.

                                        THE PLAINTIFF

          9.    Plaintiff is a Delaware corporation having its principal place of business in Palo

Alto, California.

          10.   Plaintiff is the owner of all rights, title, and interest in the TESLA standard

character mark and related logos (collectively, the “Tesla Marks”).

          11.   High-quality products under the Tesla Marks are designed, manufactured,

marketed, and distributed in interstate commerce, including within this judicial district.

          12.   Tesla is a multinational automotive and clean energy company which designs,

manufactures, and sells electric vehicles, stationary battery energy storage devices, solar panels,

solar shingles, and related products and services.




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       13.     Tesla was first incorporated in 2003 as Tesla Motors. The company’s famous name

is a tribute to inventor and electrical engineer Nikola Tesla. In 2004, Elon Musk joined the

company as its largest shareholder, and in 2008, he was named CEO. In 2008, the company began

production of its first car model, the Roadster sports car, followed by the Model S sedan in 2012,

the Model X SUV in 2015, the Model 3 sedan in 2017, the Model Y crossover in 2020, the Tesla

Semi truck in 2022, and the Cybertruck pickup truck in 2023.

       14.     Tesla is now one of the world’s most valuable companies. The Model 3 is the all-

time bestselling plug-in electric car worldwide, and in June 2021, the Model 3 became the first

electric car to sell 1 million units globally. In 2021, Tesla’s market capitalization temporarily

reached $1 trillion, the sixth company to do so in U.S. history. In 2022, the company led the

battery electric vehicle market, with 18% share. As of 2023, it is the world's most valuable

automaker.

                                     THE DEFENDANTS

       15.     Defendants are individuals and/or business entities of unknown makeup, each of

whom, upon information and belief, either reside and/or operate in foreign jurisdictions, or

redistribute products from the same or similar sources in those locations and/or ship their goods

from the same or similar sources in those locations to shipping and fulfillment centers within the

United States to redistribute their products from those locations. Defendants have the capacity to

be sued pursuant to Federal Rule of Civil Procedure 17(b). Defendants target their business

activities towards consumers throughout the United States, including within this district through

the operation of Internet based e-commerce stores via Internet marketplace websites under the

Seller IDs.




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        16.       Defendants are the past and present controlling forces behind the sale of products

under counterfeits and infringements of Plaintiff’s trademarks as described herein using at least

the Seller IDs.

        17.       Upon information and belief, Defendants directly engage in unfair competition by

advertising, offering for sale, and selling goods bearing one or more of Plaintiff’s trademarks to

consumers within the United States and this District through Internet based e-commerce stores

using, at least, the Seller IDs and additional seller identification aliases and domain names not yet

known to Plaintiff. Defendants have purposefully directed some portion of their illegal activities

towards consumers in the State of Texas through the advertisement, offer to sell, sale, and/or

shipment of counterfeit and infringing goods into the State.

        18.       Defendants have registered, established or purchased, and maintained their Seller

IDs. Upon information and belief, Defendants may have engaged in fraudulent conduct with

respect to the registration of the Seller IDs.

        19.       Upon information and belief, some Defendants have registered and/or maintained

their Seller IDs for the sole purpose of engaging in illegal counterfeiting activities.

        20.       Upon information and belief, Defendants will continue to register or acquire new

seller identification aliases and domain names for the purpose of selling and offering for sale goods

bearing counterfeit and confusingly similar imitations of one or more of Plaintiff’s trademarks

unless preliminarily and permanently enjoined.

        21.       Defendants use their Internet-based businesses in order to infringe the intellectual

property rights of Plaintiff.

        22.       Defendants’ business names, i.e., the Seller IDs, associated payment accounts, and

any other alias seller identification names used in connection with the sale of counterfeit and



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infringing goods bearing one or more of Plaintiff’s trademarks are essential components of

Defendants’ online activities and are one of the means by which Defendants further their

counterfeiting and infringement scheme and cause harm to Plaintiff. Moreover, Defendants are

using Plaintiff’s famous trademarks to drive Internet consumer traffic to their e-commerce stores

operating under the Seller IDs, thereby increasing the value of the Seller IDs and decreasing the

size and value of Plaintiff’s legitimate marketplace and intellectual property rights at Plaintiff’s

expense.

                           GENERAL FACTUAL ALLEGATIONS

                             Plaintiff’s Intellectual Property Rights

        23.    Plaintiff is the owner of the following trademark registrations, which are valid and

registered on the Principal Register of the United States Patent and Trademark Office, and pending

applications for trademark registration on the Principal Register (i.e., the Tesla Marks):

 Mark                Serial No.    Reg.       Int'l Class of Goods and Services
                                   No.
 T Design            97/343994                (08) Branding irons.




 T Design            97/210649                (09) Microphones; headphones; earphones; digital audio
                                              players; sound transmitting apparatus; audio speakers;
                                              subwoofers; earpads for headphones; audio interfaces;
                                              audio equalizer apparatus; horns for loudspeakers;
                                              megaphones.
 T Design            87/491067 6251645        (09) Solar energy equipment, namely, photo-voltaic solar
                                              modules in the shape of panels or roofing tiles for
                                              converting electromagnetic radiation into electrical
                                              energy; equipment for use in connection with collecting
                                              and converting solar energy into electricity, namely,
                                              inverters.




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T Design      86/532395 6029381   (09) Wirelessly connected electric battery apparatus with
                                  embedded remotely updateable software and firmware for
                                  storage and discharge of stored electricity for usage in
                                  entire dwellings and buildings; wirelessly connected
                                  electric battery apparatus with embedded remotely
                                  updateable software and firmware for storing, and
                                  discharging stored electricity supplied by or to an electric
                                  power grid or other source of electric power generation
                                  for stabilizing and meeting electricity demands and usage
                                  goals; computer software for monitoring, optimizing and
                                  regulating the storage, and discharge of stored energy to
                                  and from such wirelessly connected electric battery
                                  apparatus.

                                  (37) Installation, maintenance and repair and upgrading of
                                  wirelessly connected electric battery apparatus, and
                                  consulting related thereto, for the storage and discharge of
                                  stored electricity for stabilizing and meeting electricity
                                  demands and usage goals.

                                  (42) Monitoring of wirelessly connected electric battery
                                  apparatus with embedded firmware and software for
                                  storing and supplying electricity to ensure proper
                                  functioning and programming for meeting electricity
                                  demands and usage goals; Design of electric battery
                                  systems comprised of wirelessly connected electric
                                  battery apparatus and supporting software, all for storage
                                  and discharge of stored electricity, in order to optimize the
                                  design efficiency, programming and configuration of said
                                  systems, and consulting services related thereto; Software
                                  as a service (SAAS) featuring software for monitoring,
                                  optimizing and regulating the storage and discharge of
                                  stored energy to and from wirelessly connected electric
                                  battery apparatus; Providing online non-downloadable
                                  software for monitoring, optimizing and regulating the
                                  storage and discharge of stored energy to and from
                                  wirelessly connected electric battery apparatus;
                                  Management of wirelessly connected electric battery
                                  apparatus with embedded software and firmware for the
                                  storage and discharge of stored electricity by
                                  programming and configuring software for electric battery
                                  apparatus; Installation, maintenance and repair and
                                  upgrading of remotely updateable computer software and

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                                  firmware embedded in wirelessly connected electric
                                  battery apparatus, and consulting related thereto, for the
                                  storage and discharge of stored electricity for stabilizing
                                  and meeting electricity demands and usage goals.
T Design      77/785858 4560509   (12) Brake calipers for land vehicles; anti-skid chains,
                                  roof-racks, shock absorbers, springs, stabilizer bars,
                                  suspensions, all for vehicles; fitted covers for vehicles;
                                  semi-fitted covers for vehicles; trim panels for vehicle
                                  bodies.

                                  (18) Book bags; school bags.
T Design      77/983314 4226096   (12) Apparatus for locomotion by land, air or water,
                                  namely, cars, boats, airplanes; electric automobiles;
                                  electric automobile parts, fully battery electric, high
                                  performance sports automobile; seats, upholstery, steering
                                  wheels, automobile wheel hubs; vehicle wheels; motor
                                  vehicle bodies; vehicles, namely, automobiles; motors;
                                  motor land vehicles; parts and fittings for motor land
                                  vehicles, namely, structural automobile parts and
                                  powertrain components.

                                  (21) Cups and mugs.

                                  (25) Articles of clothing, namely, t-shirts, shirts, jackets,
                                  hats; headgear, namely, sports hats, caps, sun visors.

                                  (37) Providing maintenance and repair services for
                                  automobiles.

                                  (39) Transportation and storage of automobiles.

                                  (40) Custom manufacture of vehicles.
T Design      97/601874           (18) Book bags; school bags; backpacks.




T Design      97/359592 7055039   (26) Belt buckles.




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T Design      88/302963 6322825   (28) Model cars; toy cars; toy vehicles; toy vehicle play
                                  sets and accessories therefor; miniature toy models of
                                  vehicles, diecast toy vehicle models; scale size collector
                                  toy model vehicles.
T Design      86/697256 4901891   (39) Leasing of motor vehicles.




T Design      90/740074 6958647   (43) Restaurant services, pop-up restaurant services, self-
                                  service restaurant services, take-out restaurant services.



T Design      98/058768           (32) Beer.




TESLA         85/907417 4554429   (09) Batteries to supply electric power to motors for
                                  electric vehicles; wall-mounted electric power connector
                                  to charge electric automobiles; mobile plug-in electric
                                  power connector to charge electric automobiles;
                                  downloadable software in the nature of a mobile
                                  application for monitoring electric charge and status of
                                  vehicles and remote control of vehicle; downloadable
                                  software in the nature of vehicle operating system
                                  software.
TESLA         86/532390 6289537   (09) Wirelessly connected electric battery apparatus with
                                  embedded remotely updateable software and firmware for
                                  storage and discharge of stored electricity for usage in
                                  dwellings and buildings; wirelessly connected electric
                                  battery apparatus with embedded remotely updateable
                                  software and firmware for storing, and discharging stored
                                  electricity supplied by or to an electric power grid or other
                                  source of electric power generation for stabilizing and
                                  meeting electricity demands and usage goals; computer
                                  software for monitoring, optimizing and regulating the
                                  storage, and discharge of stored energy to and from such
                                  wirelessly connected electric battery apparatus.

                                  (36) Financing services relating to wirelessly connected
                                  electric battery apparatus with embedded remotely
                                  updateable software and firmware for the storage, and

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                                  discharge of stored electricity for stabilizing and meeting
                                  electricity demands and usage goals.

                                  (40) Leasing of wirelessly connected electric battery
                                  apparatus with embedded remotely updateable software
                                  and firmware for the storage, and discharge of stored
                                  electricity for stabilizing and meeting electricity demands
                                  and usage goals.

                                  (42) Monitoring of wirelessly connected electric battery
                                  apparatus with embedded firmware and software for
                                  storing and supplying electricity to ensure proper
                                  functioning and programming for meeting electricity
                                  demands and usage goals; Design of electric battery
                                  systems comprised of wirelessly connected electric
                                  battery apparatus and supporting software, all for storage
                                  and discharge of stored electricity, in order to optimize the
                                  design efficiency, programming and configuration of said
                                  systems, and consulting services related thereto; Software
                                  as a service (SAAS) featuring software for monitoring,
                                  optimizing and regulating the storage and discharge of
                                  stored energy to and from wirelessly connected electric
                                  battery apparatus; Providing online non-downloadable
                                  software for monitoring, optimizing and regulating the
                                  storage and discharge of stored energy to and from
                                  wirelessly connected electric battery apparatus;
                                  Management of wirelessly connected electric battery
                                  apparatus with embedded software and firmware for the
                                  storage and discharge of stored electricity by
                                  programming and configuring software for electric battery
                                  apparatus; Installation, maintenance and repair and
                                  upgrading of remotely updateable computer software and
                                  firmware embedded in wirelessly connected electric
                                  battery apparatus, and consulting related thereto, for the
                                  storage and discharge of stored electricity for stabilizing
                                  and meeting electricity demands and usage goals.
TESLA         85/907424 4443472   (12) Automobiles and structural parts therefor.

TESLA         97/601873           (18) Book bags; school bags; backpacks.
TESLA         98/058770           (32) Beer.



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TESLA          85/907421 4443471   (36) Financing relating to automobiles.

TESLA          88/390523 6180977   (36) Insurance agencies and brokerage in the field of
                                   automobile insurance; providing online information
                                   regarding financing an automobile, including insurance
                                   information and costs; insurance services, namely,
                                   underwriting, issuing and administration of automobile
                                   insurance; insurance services, namely, underwriting
                                   extended warranty contracts in the field of automobiles;
                                   insurance claims processing in the field of automobiles;
                                   providing vehicle insurance rate quotes.
TESLA          85/907420 4443470   (37) Providing maintenance and repair services for
                                   automobiles.
TESLA          86/697253 5006090   (39) Leasing of motor vehicles.
TESLA          87/080898 6158369   (42) Monitoring of solar panels and other equipment for
                                   use in converting solar energy into electricity to ensure
                                   proper functioning and programming for meeting
                                   electricity demands and usage goals; monitoring of
                                   efficiency, production levels and other performance data
                                   of solar panels and other equipment for use in converting
                                   solar energy into electricity.
TESLA          90/740067 6958645   (43) Restaurant services, pop-up restaurant services, self-
                                   service restaurant services, take-out restaurant services.
TESLA          88/818729 6323811   (06) Roofing, of metal, incorporating solar cells.
(Stylized)
                                   (19) Roofing, not of metal, incorporating solar cells.

TESLA          97/210647           (09) Microphones; headphones; earphones; digital audio
(Stylized)                         players; sound transmitting apparatus; audio speakers;
                                   subwoofers; earpads for headphones; audio interfaces;
                                   audio equalizer apparatus; horns for loudspeakers;
                                   megaphones, sold only in connection with vehicles.




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TESLA          86/532393 6289538   (09) Wirelessly connected electric battery apparatus with
(Stylized)                         embedded remotely updateable software and firmware for
                                   storage and discharge of stored electricity for usage in
                                   dwellings and buildings; wirelessly connected electric
                                   battery apparatus with embedded remotely updateable
                                   software and firmware for storing, and discharging stored
                                   electricity supplied by or to an electric power grid or other
                                   source of electric power generation for stabilizing and
                                   meeting electricity demands and usage goals; computer
                                   software for monitoring, optimizing and regulating the
                                   storage, and discharge of stored energy to and from such
                                   wirelessly connected electric battery apparatus.

                                   (36) Financing services relating to wirelessly connected
                                   electric battery apparatus with embedded remotely
                                   updateable software and firmware for the storage, and
                                   discharge of stored electricity for stabilizing and meeting
                                   electricity demands and usage goals.

                                   (40) Leasing of wirelessly connected electric battery
                                   apparatus with embedded remotely updateable software
                                   and firmware for the storage, and discharge of stored
                                   electricity for stabilizing and meeting electricity demands
                                   and usage goals.

                                   (42) Monitoring of wirelessly connected electric battery
                                   apparatus with embedded firmware and software for
                                   storing and supplying electricity to ensure proper
                                   functioning and programming for meeting electricity
                                   demands and usage goals; design of electric battery
                                   systems comprised of wirelessly connected electric
                                   battery apparatus and supporting software, all for storage
                                   and discharge of stored electricity, in order to optimize the
                                   design efficiency, programming and configuration of said
                                   systems, and consulting services related thereto; software
                                   as a service (SAAS) featuring software for monitoring,
                                   optimizing and regulating the storage and discharge of
                                   stored energy to and from wirelessly connected electric
                                   battery apparatus; providing online non-downloadable
                                   software for monitoring, optimizing and regulating the
                                   storage and discharge of stored energy to and from
                                   wirelessly connected electric battery apparatus;
                                   management of wirelessly connected electric battery

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                                   apparatus with embedded software and firmware for the
                                   storage and discharge of stored electricity by
                                   programming and configuring software for electric battery
                                   apparatus; installation, maintenance and repair and
                                   upgrading of remotely updateable computer software and
                                   firmware embedded in wirelessly connected electric
                                   battery apparatus, and consulting related thereto, for the
                                   storage and discharge of stored electricity for stabilizing
                                   and meeting electricity demands and usage goals.

TESLA          77/785919 4560510   (12) Anti-skid chains, roof-racks, shock absorbers,
(Stylized)                         springs, stabilizer bars, suspensions, all for vehicles; trim
                                   panels for vehicle bodies; brake calipers for land vehicles.

                                   (18) Book bags; school bags.

                                   (27) Mats.

                                   (36) Providing financial services relating to automobiles,
                                   namely, automobile financing and lease-purchase
                                   financing; financing services for the purchase and leasing
                                   of motor vehicles; lease-purchase financing; credit
                                   services, namely, providing financing for motor vehicles;
                                   providing financial advice in the field of motor vehicles.
TESLA          77/983373 4226099   (12) Apparatus for locomotion by land, namely, cars,
(Stylized)                         electric automobiles; electric automobile parts; fully
                                   battery electric, high performance sports automobile;
                                   seats, automobile wheel hubs; vehicle wheels; upholstery,
                                   fitted covers for vehicles; semi-fitted covers for vehicles;
                                   steering wheels, motors; motor vehicle bodies; vehicles,
                                   namely, automobiles; motor land vehicles; parts and
                                   fittings for motor land vehicles, namely, structural
                                   automobile parts and powertrain components.

                                   (21) Cups and mugs.

                                   (25) Articles of clothing, namely, t-shirts, shirts, jackets,
                                   hats; headgear, namely, sports hats, caps, sun visors.

                                   (37) Providing maintenance and repair services for
                                   automobiles.

                                   (39) Transportation and storage of automobiles.

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                                   (40) Custom manufacture of vehicles.
TESLA          88/302955 6322823   (28) Model cars; toy cars; toy vehicles; toy vehicle play
(Stylized)                         sets and accessories therefor; miniature toy models of
                                   vehicles, diecast toy vehicle models; scale size collector
                                   toy model vehicles.
TESLA          98/058763           (32) Beer.
(Stylized)



TESLA          88/390528 6180979   (36) Insurance agencies and brokerage in the field of
(Stylized)                         automobile insurance; providing online information
                                   regarding financing an automobile, including insurance
                                   information and costs; insurance services, namely,
                                   underwriting, issuing and administration of automobile
                                   insurance; insurance services, namely, underwriting
                                   extended warranty contracts in the field of automobiles;
                                   insurance claims processing in the field of automobiles;
                                   providing vehicle insurance rate quotes.
TESLA          87/491060 6283401   (42) Monitoring of solar panels and other equipment for
(Stylized)                         use in converting solar energy into electricity to ensure
                                   proper functioning and programming for meeting
                                   electricity demands and usage goals; monitoring of
                                   efficiency, production levels and other performance data
                                   of solar panels and other equipment for use in converting
                                   solar energy into electricity.
TESLA          90/740072 6958646   (43) Restaurant services, pop-up restaurant services, self-
(Stylized)                         service restaurant services, take-out restaurant services.



CYBERTRUCK     88/682192 7294980   (12) Land vehicles; electric vehicles, namely, automobiles
                                   and trucks; trucks; pick-up trucks; automobiles; and
                                   structural parts therefor
CYBERTRUCK     88/702302 7294982   (12) Land vehicles; electric vehicles, namely, automobiles
                                   and trucks; trucks; pick-up trucks; automobiles; and
(Stylized)
                                   structural parts therefor




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       24.     The Tesla Marks are used in connection with the design, manufacturing, marketing,

and distribution of high-quality goods in at least the categories identified above.

       25.     Long before Defendants began their infringing activities complained of herein, the

Tesla Marks had been used by Plaintiff in interstate commerce to identify and distinguish

Plaintiff’s products and merchandise for an extended period.

       26.     The Tesla Marks are well-known and famous and have been for many years.

Plaintiff has expended substantial time, money, and other resources developing, enforced, and

otherwise promoting the Tesla Marks and products bearing the Tesla Marks. The Tesla Marks

qualify as famous marks as that term is used in 15 U.S.C. §1125(c)(1).

       27.     Plaintiff has extensively used, enforced, and promoted the Tesla Marks in the

United States in association with their merchandise.

       28.     As a result of Plaintiff’s efforts, members of the consuming public readily identify

products and merchandise bearing or sold under the Tesla Marks as being high quality goods

sponsored and approved by Plaintiff.

       29.     The Tesla Marks serve as a symbol of Plaintiff’s quality, reputation, and goodwill

and have never been abandoned.

                      Defendants’ Counterfeiting and Infringing Conduct

       30.     Upon information and belief, Defendants are promoting and advertising,

distributing, selling, and/or offering for sale counterfeit and infringing goods in interstate

commerce using exact copies and confusingly similar copies of the Tesla Marks through at least

the Internet based e-commerce stores operating under the Seller IDs (collectively, the “Counterfeit

Goods”). Plaintiff has used the Tesla Marks extensively and continuously before Defendants

began offering counterfeit and confusingly similar imitations of Plaintiff’s merchandise.



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       31.     Upon information and belief, Defendants’ Counterfeit Goods are of a quality

substantially and materially different than that of Plaintiff’s genuine goods. Defendants, upon

information and belief, are actively using, promoting and otherwise advertising, distributing,

selling and/or offering for sale substantial quantities of their Counterfeit Goods with the knowledge

and intent that such goods will be mistaken for the genuine high quality goods offered for sale by

Plaintiff under the Tesla Marks despite Defendants’ knowledge that they are without authority to

use the Tesla Marks. The effect of Defendants’ actions will cause confusion of consumers, at the

time of initial interest, sale, and in the post-sale setting, who will believe Defendants’ Counterfeit

Goods are genuine goods originating from, associated with, or approved by Plaintiff.

       32.     Defendants advertise their Counterfeit Goods for sale to the consuming public via

e-commerce stores on Internet marketplace websites using at least the Seller IDs. In so advertising

these goods, Defendants improperly and unlawfully use the Tesla Marks without Plaintiff’s

permission.

       33.     As part of their overall infringement and counterfeiting scheme, Defendants are,

upon information and belief, employing and benefitting from substantially similar, advertising and

marketing strategies based, in large measure, upon an illegal use of counterfeits and infringements

of the Tesla Marks. Specifically, Defendants are using counterfeits and infringements of Plaintiff’s

famous Tesla Marks in order to make their e-commerce stores and websites selling illegal goods

appear more relevant, authentic, and attractive to consumers searching for Plaintiff’s related goods

and information online.     By their actions, Defendants are contributing to the creation and

maintenance of an illegal marketplace operating in parallel to the legitimate marketplace for

Plaintiff’s genuine goods. Defendants are causing individual, concurrent and indivisible harm to

Plaintiff and the consuming public by (i) depriving Plaintiff and other third parties of their right to



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fairly compete for space within search engine results and reducing the visibility of Plaintiff’s

genuine goods on the World Wide Web, (ii) causing an overall degradation of the goodwill

associated with the Tesla Marks, and/or (iii) increasing Plaintiff’s overall cost to market the Tesla

Marks and educate consumers about their brand via the Internet.

       34.       Upon information and belief, Defendants are concurrently targeting their

counterfeiting and infringing activities toward consumers and causing harm within this District

and elsewhere throughout the United States. As a result, Defendants are defrauding Plaintiff and

the consuming public for Defendants’ own benefit.

       35.       Upon information and belief, at all times relevant hereto, Defendants in this action

had full knowledge of Plaintiff’s ownership of the Tesla Marks, including their exclusive right to

use and license such intellectual property and the goodwill associated therewith.

       36.       Defendants’ use of the Tesla Marks, including the promotion and advertisement,

distribution, sale and offering for sale of their Counterfeit Goods, is without Plaintiff’s consent or

authorization.

       37.       Defendants are engaging in the above-described illegal counterfeiting and

infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

Plaintiff’s rights for the purpose of trading on Plaintiff’s goodwill and reputation. If Defendants’

intentional counterfeiting and infringing activities are not preliminarily and permanently enjoined

by this Court, Plaintiff and the consuming public will continue to be harmed.

       38.       Defendants’ above identified infringing activities are likely to cause confusion,

deception, and mistake in the minds of consumers before, during and after the time of purchase.

Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive




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customers, the public, and the trade into believing there is a connection or association between

Plaintiff’s genuine goods and Defendants’ Counterfeit Goods, which there is not.

       39.     Upon information and belief, Defendants’ payment and financial accounts are

being used by Defendants to accept, receive, and deposit profits from Defendants’ trademark

counterfeiting and infringing and unfairly competitive activities connected to their Seller IDs and

any other alias seller identification names being used and/or controlled by them.

       40.     Further, upon information and belief, Defendants are likely to transfer or conceal

their assets to avoid payment of any monetary judgment awarded to Plaintiff.

       41.     Plaintiff has no adequate remedy at law.

       42.     Plaintiff is suffering irreparable injury and have suffered substantial damages as a

result of Defendants’ unauthorized and wrongful use of the Tesla Marks .

       43.     The harm and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful use, advertisement, promotion, offers to sell, and sale of their

Counterfeit Goods.

        COUNT I -- TRADEMARK COUNTERFEITING AND INFRINGEMENT
           PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

       44.     Plaintiff hereby adopts and re-alleges the allegations set forth in paragraphs 1

through 43 as though fully set forth herein.

       45.     This is an action for trademark counterfeiting and infringement against Defendants

based on their use of counterfeit and confusingly similar imitations of the Tesla Marks in

commerce in connection with the promotion, advertisement, distribution, offering for sale, and

sale of the Counterfeit Goods.

       46.     Defendants are promoting and otherwise advertising, selling, offering for sale, and

distributing goods, using counterfeits and/or infringements of the Tesla Marks. Defendants are

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continuously infringing and inducing others to infringe the Tesla Marks by using one or more of

them to advertise, promote, offer to sell, and/or sell at least counterfeit and infringing goods.

        47.     Defendants’ concurrent counterfeiting and infringing activities are likely to cause

and actually are causing confusion, mistake, and deception among members of the trade and the

general consuming public as to the origin and quality of Defendants’ Counterfeit Goods.

        48.     Defendants’ unlawful actions have individually and jointly caused and are

continuing to cause unquantifiable damage to Plaintiff and are unjustly enriching Defendants with

profits at Plaintiff’s expense.

        49.     Defendants’ above-described illegal actions constitute counterfeiting and

infringement of the Tesla Marks in violation of Plaintiff’s rights under § 32 of the Lanham Act,

15 U.S.C. § 1114.

        50.     Plaintiff has suffered and will continue to suffer irreparable injury and damages due

to Defendants’ above described activities if Defendants are not preliminarily and permanently

enjoined. Additionally, Defendants will continue to wrongfully profit from their illegal activities.

                 COUNT II -- FALSE DESIGNATION OF ORIGIN
           PURSUANT TO § 43(A) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

        51.     Plaintiff hereby adopts and re-alleges the allegations set forth in paragraphs 1

through 43 as though fully set forth herein.

        52.     Upon information and belief, Defendants’ Counterfeit Goods bearing, offered for

sale, and sold under copies of the Tesla Marks have been widely advertised and offered for sale

throughout the United States via the Internet.

        53.     Defendants’ Counterfeit Goods bearing, offered for sale, and sold under copies of

the Tesla Marks are virtually identical in appearance to Plaintiff’s genuine goods. However,

Defendants’ Counterfeit Goods are different in quality. Accordingly, Defendants’ activities are

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likely to cause confusion in the trade and among the general public as to at least the origin or

sponsorship of their Counterfeit Goods.

        54.     Defendants, upon information and belief, have used in connection with their

advertisement, offer for sale, and sale of their Counterfeit Goods, false designations of origin and

false descriptions and representations, including words or other symbols and trade dress, which

tend to falsely describe or represent such goods and have caused such goods to enter into commerce

with full knowledge of the falsity of such designations of origin and such descriptions and

representations, all to Plaintiff’s detriment.

        55.     Defendants have authorized infringing uses of the Tesla Marks in Defendants’

advertisement and promotion of their counterfeit and infringing branded goods. Defendants have

misrepresented to members of the consuming public that the Counterfeit Goods being advertised

and sold by them are genuine, non-infringing goods.

        56.     Additionally, Defendants are using counterfeits and infringements of the Tesla

Marks in order to unfairly compete with Plaintiff and others for space within search engine organic

results, thereby jointly depriving Plaintiff of a valuable marketing and educational tool which

would otherwise be available to Plaintiff and reducing the visibility of Plaintiff’s genuine goods

on the World Wide Web.

        57.     Defendants’ above-described actions are in violation of Section 43(a) of the

Lanham Act, 15 U.S.C. §1125(a).

        58.     Plaintiff has no adequate remedy at law and has sustained indivisible injury and

damage caused by Defendants’ concurrent conduct. Absent an entry of an injunction by this Court,

Defendants will continue to wrongfully reap profits and Plaintiff will continue to suffer irreparable

injury to its goodwill and business reputation, as well as monetary damages.



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                 COUNT III -- COMMON LAW UNFAIR COMPETITION

       59.      Plaintiff hereby adopts and re-alleges the allegations set forth in paragraphs 1

through 43 as though fully set forth herein.

       60.      This is an action against Defendants based on their promotion, advertisement,

distribution, sale, and/or offering for sale of goods using marks which are virtually identical, both

visually and phonetically, to the Tesla Marks in violation of Texas’s common law of unfair

competition.

       61.      Specifically, Defendants are promoting and otherwise advertising, selling, offering

for sale and distributing goods bearing counterfeits and infringements of the Tesla Marks.

Defendants are also using counterfeits and infringements of the Tesla Marks to unfairly compete

with Plaintiff for (i) space in search engine results across an array of search terms and/or (ii)

visibility on the World Wide Web.

       62.      Defendants’ infringing activities are likely to cause and actually are causing

confusion, mistake and deception among members of the trade and the general consuming public

as to the origin and quality of Defendants’ products by their use of the Tesla Marks.

       63.      Plaintiff has no adequate remedy at law and is suffering irreparable injury and

damages as a result of Defendants’ actions.

               COUNT IV - COMMON LAW TRADEMARK INFRINGEMENT

       64.      Plaintiff hereby adopts and re-alleges the allegations set forth in paragraphs 1

through 43 as though fully set forth herein.

       65.      This is an action for common law trademark infringement against Defendants based

on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods bearing

the Tesla Marks. Plaintiff is the owner of all common law rights in and to the Tesla Marks.



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         66.   Specifically, Defendants, upon information and belief, are promoting and otherwise

advertising, distributing, offering for sale, and selling goods bearing infringements of the Tesla

Marks.

         67.   Defendants’ infringing activities are likely to cause and actually are causing

confusion, mistake, and deception among members of the trade and general consuming public as

to the origin and quality of Defendants’ Counterfeit Goods bearing the Tesla Marks.

         68.   Plaintiff has no adequate remedy at law and is suffering damages and irreparable

injury as a result of Defendants’ actions.

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiff demands judgment on all Counts of this Complaint and an award

of equitable relief and monetary relief against Defendants as follows:

         A.    Entry of temporary, preliminary, and permanent injunctions pursuant to 15 U.S.C.

§ 1116, 17 U.S.C. § 502(a), and Federal Rule of Civil Procedure 65 enjoining Defendants, their

agents, representatives, servants, employees, and all those acting in concert or participation

therewith, from manufacturing or causing to be manufactured, importing, advertising or

promoting, distributing, selling or offering to sell their Counterfeit Goods; from infringing,

counterfeiting, or diluting the Tesla Marks; from using the Tesla Marks, or any mark or design

similar thereto, in connection with the sale of any unauthorized goods; from using any logo, trade

name or trademark or design that may be calculated to falsely advertise the services or products of

Defendants as being sponsored by, authorized by, endorsed by, or in any way associated with

Plaintiff; from falsely representing themselves as being connected with Plaintiff, through

sponsorship or association, or engaging in any act that is likely to falsely cause members of the

trade and/or of the purchasing public to believe any goods or services of Defendants are in any



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way endorsed by, approved by, and/or associated with Plaintiff; from using any counterfeit, copy,

or colorable imitation of the Tesla Marks in connection with the publicity, promotion, sale, or

advertising of any goods sold by Defendants; from affixing, applying, annexing or using in

connection with the sale of any goods, a false description or representation, including words or

other symbols tending to falsely describe or represent Defendants’ goods as being those of

Plaintiff’s, or in any way endorsed by Plaintiff and from offering such goods in commerce; from

engaging in search engine optimization strategies using colorable imitations of Plaintiff’s Tesla

Marks; and from otherwise unfairly competing with Plaintiff.

       B.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the

Court’s inherent authority, that, upon Plaintiff’s request, the applicable governing Internet

marketplace website operators and/or administrators for the Seller IDs who are provided with

notice of an injunction issued by the Court disable and/or cease facilitating access to the Seller

IDs, and any other alias seller identification names being used and/or controlled by Defendants to

engage in the business of marketing, offering to sell, and/or selling goods bearing counterfeits and

infringements of the Tesla Marks.

       C.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the

Court’s inherent authority, that, upon Plaintiff’s request, any Internet marketplace website

operators and/or administrators for the Seller IDs who are provided with notice of an injunction

issued by the Court, identify any e-mail address known to be associated with Defendants’

respective Seller ID.

       D.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the

Court’s inherent authority that, upon Plaintiff’s request, any Internet marketplace website

operators and/or administrators who are provided with notice of an injunction issued by the Court



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permanently remove any and all listings and associated images of goods bearing counterfeits

and/or infringements of the Tesla Marks via the e-commerce stores operating under the Seller IDs,

and upon Plaintiff’s request, any other listings and images of goods bearing counterfeits and/or

infringements of the Tesla Marks associated with and/or linked to the same sellers or linked to

any other alias seller identification names being used and/or controlled by Defendants to promote,

offer for sale and/or sell goods bearing counterfeits and/or infringements of the Tesla Marks.

        E.      Entry of an order requiring Defendants to account to and pay Plaintiff for all profits

and damages resulting from Defendants’ trademark counterfeiting and infringing and unfairly

competitive activities and that the award to Plaintiff be trebled, as provided for under 15 U.S.C.

§1117, or, at Plaintiff’s election with respect to Count I, that Plaintiff be awarded statutory

damages from each Defendant in the amount of two million US dollars ($2,000,000.00) per each

counterfeit trademark used and product type sold, as provided by 15 U.S.C. §1117(c)(2) of the

Lanham Act.

        F.      Entry of an order that, upon Plaintiff’s request, Defendants and any financial

institutions, payment processors, banks, escrow services, money transmitters, or marketplace

platforms, and their related companies and affiliates, identify and restrain all funds, up to and

including the total amount of judgment, in all financial accounts and/or sub-accounts used in

connection with the Seller IDs or other alias seller identification or e-commerce store names,

domain names and/or websites used by Defendants presently or in the future, as well as any other

related accounts of the same customer(s) and any other accounts which transfer funds into the same

financial institution account(s), to be surrendered to Plaintiff in partial satisfaction of the monetary

judgment entered herein.




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        G.     Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Plaintiff’s costs and

reasonable attorneys’ fees and investigative fees associated with bringing this action.

        H.     Entry of an order requiring Defendants to pay prejudgment interest according to

law.

        I.     Entry of an order for such other and further relief as the Court may deem proper

and just.

Date: April 5, 2024                           Respectfully submitted by,

                                              /s/ A. Robert Weaver
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